                   EXHIBIT 7




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EXHIBIT F
Document from Community Innovations




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                                  INNOVATIONS' INC_~
                                   '    '      '-


February 20, 2012


Ms. Lisa Cooper:
I hope all is well. I just want to let you know that you have been stepped down to Basic
Benefits at this time. Due to your improvement with your symptoms as well as being
able to progress with treatment, you have been stepped down to a lower level of care. At
this time, you will only be seeing the doctor as well as continue in seeing Ms. Lenniah for
therapy. I just want to congratulate you on your success here at our agency. It was a
pleasure in meeting with you as well as working with you. If you have any questions,
please don't hesitate to contact me.


Sincerely,

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fvr.~~ Kolletta A Harris, QP
Case Manager, Community Innovations, Inc.


P.s. If you need to see the doctor, please contact the front desk clerk, Ms. Christy, in
order to schedule your next doctor's appointment.




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